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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

 ENERRA CORPORATION                                     §
                                                        §
         Plaintiff,                                     §
                                                        §
 vs.                                                    §   CAUSE NO. 3:23-cv-00194-L
                                                        §
 CONTI GROUP, LLC, PLASTIKGAS,                          §
 LLC, ROBERTO CONTI, JULIE CONTI,                       §
 and ROBERT JORDAN CONTI                                §
                                                        §
         Defendants.                                    §


         ORDER GRANTING THIRD-PARTY DEFENDANTS’ UNOPPOSED
        MOTION TO WITHDRAW PREVIOUSLY-FILED MOTION TO DISMISS


        BEFORE THE COURT is Third-Party Defendants Michael Brown, Mark Mills, and Sergio

Perez’s (“Third-Party Defendants”) Unopposed Motion to Withdraw Previously-Filed Motion to

Dismiss (the “Motion”). The Court has considered the Motion and any response and reply. The

Court is of the opinion that the Motion is well-founded and should be GRANTED.

        It is therefore ORDERED that Third-Party Defendants Michael Brown, Mark Mills, and

Sergio Perez’s Motion to Withdraw Previously-Filed Motion to Dismiss is GRANTED. Third-

Party Defendants’ Motion to Dismiss for Lack of Personal Jurisdiction Pursuant to FRCP 12(b)(2),

filed on March 24, 2023 (Dkt. 28) is therefore WITHDRAWN.

        It is further ORDERED that Third-Party Defendants file an answer in this matter no later

than fourteen (14) days after the date of this Order.

        It is so ORDERED.

        Signed this _____ day of _______________, 2023.



                                                        HONORABLE JUDGE PRESIDING

Order Granting Third-Party Defendants’ Unopposed
Motion to Withdraw Previously-Filed Motion to Dismiss                                   Page Solo
